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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION

MAGNUM MINERALS, L.L.C.,                      §
MAGNUM BLUE RIBBON FEEDS, INC.,               §
GEARN OFFSHORE, INC., and TIM A.              §
GEARN, Individually,                          §
                                              §
        Plaintiffs,                           §
                                              §
v.                                            §
                                              §
HOMELAND INSURANCE COMPANY                    §
OF NEW YORK, MARK COLLIER,                    §        CIVIL ACTION NO.
CONSUELO AYALA, Individually and as           §
the Representative of the Estate of           §         2:13-cv-00103-J
PEDRO MEJIA BELTRAN and as Next               §
Friend and Natural Mother of Minors,          §
EMA, JYMA, and CBM, ELGIN B.                  §
ALLEN, Jr., AIM ASSOCIATION                   §
INSURANCE MANAGEMENT, INC.,                   §
TERRY M. FERRELL, ONEBEACON                   §
INSURANCE GROUP, ONEBEACON                    §
ACCIDENT GROUP, ONEBEACON                     §
AMERICA INSURANCE COMPANY,                    §
ONEBEACON INSURANCE COMPANY,                  §
and TRADERS & GENERAL                         §
INSURANCE COMPANY,                            §
                                              §
        Defendants.                           §



               ONEBEACON DEFENDANTS’ ORIGINAL COUNTERCLAIM

        Defendants and Counterclaim Plaintiffs Homeland Insurance Company of New

York, OneBeacon Insurance Group, LLC (improperly named in the caption as

OneBeacon Insurance Group), OneBeacon Accident Group, a division of OneBeacon

Insurance Group, LLC (but not a separate legal entity), OneBeacon America Insurance

Company, OneBeacon Insurance Company, and Traders & General Insurance

Company (collectively, the “OneBeacon Defendants”), file this Original Counterclaim


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against Plaintiffs Magnum Minerals, L.L.C., Magnum Blue Ribbon Feeds, Inc., Gearn

Offshore, Inc., and Tim A. Gearn, as follows:

                                        PARTIES

       1.     Defendant and Counterclaim Plaintiff Homeland Insurance Company of

New York (“Homeland”) is a corporation incorporated in the state of New York, with its

principal place of business in Minnesota.

       2.     Defendant and Counterclaim Plaintiff OneBeacon Insurance Group, LLC

(misnamed by Plaintiffs as OneBeacon Insurance Group) is a corporation incorporated

in Delaware with its principal place of business in Minnesota.

       3.     Defendant and Counterclaim Plaintiff OneBeacon America Insurance

Company is a corporation incorporated in the state of Massachusetts, with its principal

place of business in Minnesota.

       4.     Defendant and Counterclaim Plaintiff OneBeacon Insurance Company is a

corporation incorporated in the State of Pennsylvania, with its principal place of

business in Minnesota.

       5.     Defendant and Counterclaim Plaintiff Traders & General Insurance

Company is a corporation incorporated in the State of Texas, with its principal place of

business in Minnesota.

       6.     Plaintiff   and   Counterclaim    Defendant    Magnum      Minerals,   L.L.C.

(“Minerals”) is a limited liability corporation incorporated in the State of Texas, with its

principal place of business in Texas.




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       7.       Plaintiff and Counterclaim Defendant Magnum Blue Ribbon Feeds, Inc.

(“Blue Ribbon”) is a corporation incorporated in the State of Texas, with its principal

place of business in Texas.

       8.       Plaintiff and Counterclaim Defendant Gearn Offshore, Inc. (“Gearn

Offshore”) is a corporation incorporated in the State of Texas, with its principal place of

business in Texas.

       9.       Plaintiff and Counterclaim Defendant Tim A. Gearn (“Gearn”) is an

individual citizen of the State of Texas who resides in Hereford, Deaf Smith County,

Texas.

                               JURISDICTION AND VENUE

       10.      This Court has pendent jurisdiction under 28 U.S.C. § 1367 over this

counterclaim.     When a district court has original jurisdiction over some claims in a

lawsuit, the court shall have “supplemental jurisdiction over all other claims that are so

related to claims in the action within such original jurisdiction that they form part of the

same case or controversy.” 28 U.S.C. § 1367(a).

         11.    Venue is proper in this Court under 28 U.S.C. § 1441(a) because the

district and division of this Court embrace Deaf Smith County, Texas, the place where

Plaintiffs filed their state-court complaint, and under 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to Plaintiffs’ claims occurred in

Deaf Smith County, Texas.

                                          FACTS

       12.      This case arises out of a tragic accident that occurred on February 2, 2011

(the “Accident”), in which Pedro Mejia (“Mejia”) was killed while in the employment of




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Minerals, when a salt storage silo collapsed and crushed him. After the Accident, a

wrongful death lawsuit was filed against Minerals (the “Underlying Suit”) by Consuelo

Ayala (“Ayala”), Individually and as the Representative of the Estate of Pedro Mejia

Beltran and as Next Friend and Natural Mother of Minors, EMA, JYMA and CBM. Ayala

subsequently amended the Underlying Suit to add Blue Ribbon, Gearn Offshore, Tim A.

Gearn, and others, as defendants.

      13.    Before the Accident, Homeland issued insurance policies to Gearn

Offshore and Blue Ribbon (the “Policies”), which provided certain coverage due to their

opting out of the Texas workers’ compensation system. However, the Policies only

provide potential coverage when the injured person is employed by and receiving his

pay on a regular basis from the insured named in the Policies; here, Gearn Offshore or

Blue Ribbon. At the time of the Accident, Mejia was not employed by or receiving his

pay on a regular basis from either Blue Ribbon or Gearn Offshore.         Rather, it is

uncontroverted that Mejia was solely employed by and receiving his pay on a regular

basis only from Minerals. Homeland never issued an insurance policy to Minerals, who

never applied for an insurance policy from Homeland. Minerals is not an insured named

in either of the policies Homeland issued to Blue Ribbon and Gearn Offshore. Thus,

Homeland very clearly owes no duty to defend any of the Plaintiffs in the Underlying

Suit or to indemnify them for any liability that may be imposed against them in the

Underlying Suit based upon the Accident.

      14.    Plaintiffs’ lawsuit against the OneBeacon Defendants is frivolous,

groundless, and has no basis in law or fact. The OneBeacon Defendants therefore




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seek to recover their attorney’s fees and costs from the Plaintiffs/Counterclaim

Defendants.

                                      COUNT ONE

                     RECOVERY OF ATTORNEY’S FEES
               PURSUANT TO THE COURT’S INHERENT AUTHORITY

      15.     The OneBeacon Defendants incorporate the allegations in paragraphs 1-

14 above.

      16.     Pursuant to the inherent authority possessed by this Court, the

OneBeacon Defendants seek an award against the Plaintiffs/Counterclaim Defendants

for the OneBeacon Defendants’ reasonable attorney’s fees incurred in defending this

action because Plaintiffs/Counterclaim Defendants’ claims are not well-grounded in fact,

are not legally tenable, and were brought for an improper purpose, including to harass

the OneBeacon Defendants, because the Plaintiffs’ claims have been prosecuted

vexatiously, wantonly, and for oppressive reasons, and because the Plaintiffs’ actions in

prosecuting this lawsuit have needlessly and without a reasonable basis increased the

attorneys’ fees and other expenses in this lawsuit.

                                     COUNT TWO

                RECOVERY OF ATTORNEY’S FEES UNDER RULE 11

      17.     The OneBeacon Defendants incorporate the allegations in paragraphs 1-

17 above.

      18.     Pursuant to Rule 11 of the Federal Rules of Civil Procedure, the

OneBeacon Defendants seek an award against the Plaintiffs/Counterclaim Defendants

for the OneBeacon Defendants’ reasonable attorneys’ fees and all expenses incurred in

this lawsuit because Plaintiffs/Counterclaim Defendants’ claims are not well-grounded in



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fact, are not legally tenable, and were brought for an improper purpose, including to

harass the OneBeacon Defendants, because the Plaintiffs’ claims have been

prosecuted vexatiously, wantonly, and for oppressive reasons, and because the

Plaintiffs’ actions in prosecuting this lawsuit have needlessly and without a reasonable

basis increased the attorneys’ fees and other expenses in this lawsuit.

                                   PRAYER FOR RELIEF

       The OneBeacon Defendants request this Court to enter judgment in their favor

against the Plaintiffs/Counterclaim Defendants on this counterclaim, including an award

against the Plaintiffs/Counterclaim Defendants for the OneBeacon Defendants’

attorney’s fees and all costs of court, and to grant the OneBeacon Defendants such

other and further relief to which they are justly entitled.

                                            Respectfully submitted,


                                            /s/ Michael Keeley
                                            MICHAEL KEELEY
                                            State Bar No. 11157800
                                            JOHN R. RIDDLE
                                            State Bar No. 16890200
                                            CARLA CRAPSTER
                                            State Bar No. 24065094
                                            STRASBURGER & PRICE, LLP.
                                            901 Main Street, Suite 4400
                                            Dallas, Texas 75202
                                            Telephone: (214) 651-4300
                                            Facsimile:    (214) 651-4330

                                            ATTORNEYS FOR DEFENDANTS
                                            HOMELAND INSURANCE COMPANY OF
                                            NEW YORK, ONEBEACON INSURANCE
                                            GROUP, ONEBEACON ACCIDENT GROUP,
                                            ONEBEACON AMERICA INSURANCE
                                            COMPANY, ONEBEACON INSURANCE
                                            COMPANY, and TRADERS & GENERAL
                                            INSURANCE COMPANY



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                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been served to
all counsel listed below on this 13th day of June, 2013, via the Court’s ECF System
and/or certified mail, return receipt requested.

John H. Lovell                                W C Bratcher
Deborah D. Reeves                             Mark McBrayer
Lovell, Lovell, Newsom & Isern, L.L.P.        Crenshaw, Dupree & Milam, L.L.P.
112 West 8th Ave., Suite 1000                 P.O. Box 1499
Eagle Centre Building                         Lubbock, Texas 79408
Amarillo, TX 79101-2314
                                              Slater C. Elza
Mark A. Ticer                                 Underwood Law Firm, P.C.
4144 North Central Expressway                 145 W. 3rd
Suite 1255                                    Hereford, TX 79045
Dallas, TX 75204
                                              Attorneys for Defendant Mark Collier
Attorneys for Plaintiffs
                                              Richard E. Schellhammer
Juan C. Hernandez                             Cara D. Kennermer
Hernandez & Browning                          Goins, Underkofler, Crawford &
8111 LBJ Freeway, Suite 1065                  Langdon
Dallas, TX 75251                              1201 Elm Street
                                              Dallas, Texas 75270
Mark A. Ticer
Law Office of Mark A. Ticer                   Attorneys for Defendant Terry M. Ferrell
4144 North Central Expressway
Suite 1255                                    Robert G. Chadwick, Jr.
Dallas, TX 75204                              Timothy B. Soefje
                                              Campbell & Chadwick, P.C.
Robert C. Lyon                                4201 Spring Valley Road
Robert Lyon & Associates                      Suite 1250
3301 Century Drive, Suite A                   Dallas, TX 75244
Rowlett, TX 75088
                                              Attorneys for Defendants Elgin B. Allen,
Attorneys for Defendant Consuelo              Jr. and AIM Association Insurance
Ayala, Individually and as the                Management, Inc.
Representative of the Estate of Pedro
Mejia Beltran and as Next Friend and
Natural Mother of Minors, EMA, JYMA
and CBM

                                          /s/ Michael Keeley
                                          Michael Keeley



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